 

Case 1:17-cV-Ol446-EPG Document 66 Filed 02/26/19 Page 1 of 28

IV|attheW D. Owdom #258779
OWDO|VI LAW FIRM

632 West Oak Avenue
Visa|ia, Ca|ifornia 93291
Te|ephone: 559.750.5224
matt@owdom|awfirm.com

Attorney for P|aintif'f

UNITED STATES D|STR|CT COURT
FOR THE EASTERN DlSTR|CT OF CAL|FORN|A - FRESNO

RAM|RO HUERTA, Case No. 1:‘|7-CV-01446-EPG
P|aintiff, DECLARAT|ON OF MATTHEW D.
OWDOM RE HEAR|NG FOR
VS- CONTEMPT
COUNTY OF TULARE, a governmental Date:
entity, et. a|., Time: 2:30 .m.

Ctrm: 10 (6h Floor)
Defendants.

 

 

DECLARATION OF MATTHEW D. OWDOM
|, Matthew Owdom, hereby declare as fot|ows:
1. | am an attorney licensed to practice in the United States Court for the Eastern
District of Caiifornia. | am one of the attorneys representing P|aintif'f Ramiro Huerta (Huen`a) in

this matter, in addition to the State Court case, Peopie v. Huen‘a, Tu|are County Case No.

 

DECLARAT!ON OF MATTHEW D. OWDON| RE HEAR|NG
ON CONTENIPT

 

 

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PClV| 358718 (the Criminal Case). | have personal knowledge of the matters set forth herein.
|f called, l could and would competently and completely testify to the facts set forth herein.

2. Attached hereto as Exhibit 1 is a Withdrawa| of the MlL and Notice of Federal Court
Discovery Order to be filed Tuesday, l-“ebruary 26, 2019 in the Criminal Case.

3. On November 201 2018, l received an email and attachment from Ms. Kari lVlartin-
Higgins, a paralegal With the Tu|are County Counsel’s Office. Attached to the email was a
Declaration of Compliance/Production by |Vls. Higgins indicating that all deposition transcripts,
exhibits, and several other categories of evidence taken in the Federal Case had been produced
to the Tu|are County District Attorney, along with a Receipt 81 Acknowledgment executed by
Deputy District Attorney Joe l_. Alindajao on November 19, 2018. A true and correct copy of lVls.
Higgins’ email, the Declaration of Compliance/Production, and the Receipt & Acknowledgment
are attached hereto as Exhibit 2.

4. At the time l filed the lVllL on November 28, 2018, | believed that the Tu|are County
Counsel had independently produced the civil rights deposition transcripts to the District Attorney,
Without objection, pursuant to the DistrictAttorney’s subpoenas in the Criminal Case. See Exhibit
2, Declaration of Compliance/Production by Tu|are County Counsel and Receipt &
Acknowledgment by DA. As a result of said production of all deposition transcripts and various

other items of evidence, l believed that such materials were available for use in the Criminal Case.

5. l sincerely apologize to the Court for any mistake on my part in interpreting the
Discovery Order.
6. With respect to communication with the DistrictAttomey regarding the federal court

proceeding, l can recall the following specific instances: (1) a phone calf on January 8, 2019,
regarding deposition transcripts in possession of the Tu|are County DA; (2) a discussion of the
transcripts in either late November 2018 or early December 2018, while in Portervil|e for one of
the appearances in the Criminal Case. lt is likely l spoke to the DA earlier than this about the
transcripts Whiie discussing Defendant's trial witnesses or witness list or related matters, but l do

not recall any specific dates, and l do not have any memoranda in my file indicating such dates.

 

DECLARAT|ON OF MATTHEW D. OWDON| RE HEAR|NG
ON CONTEN!PT

 

 

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7. l declare under penalty of perjury under the laws of the United States of America

and the State of California that the foregoing is true and correct

Dated: February 26, 2019 /s/ l\/latthew D. Owd_om
MATTHEW D. OWDOM

 

 

DECLARAT|ON OF MATTHEW D. OWDONl RE HEAR|NG
ON CONTEMPT

 

 

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EXHIBIT 1

 

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Case 1:17-cv-Ol446-EPG Document 66 Filed 02/26/19 Page 5 of 28

lVlatthew D. Owdorn #258779
OWDO|Vl LAW FlRlVl

632 West Oak Avenue
Visa|ia, Caiifornia 93291
Telephone: 559.750.5224
matt@owdomlawfirm.com

Attorney for Plaintiff

SUPERIOR COURT FOR THE COUNT¥ OF TULARE
PORTERV|I_LE DlVIS|ON

THE PEOPLE OF THE STATE OF
CAL]FORN|A,

Plaintiff,
VS.
RAN|ERO HUERTA,

Defendant.

 

 

NOT|CE lS G|VEN that Defendant RAlV||RO HUERTA hereby withdraws Defendant’s
lVlotion in Limine (A), filed with this Court on November 28, 2018. Withdrawal is mandated

pursuant to Discovery Order of the Hon. l\flagistrate Judge Erica P. Grosjean of the United States

Case NO. PCM358718

NOTICE OF WITHDRAVVAL OF

DEFENDANT’S MOT|ON
NOTICE OF FEDERAL C
D|SCOVERY ORDER

Court for the Eastern District of California, in Case No. 1:17-cv-01446-EPG.

NOTICE lS FURTHER GIVEN that the Hon. l\/lagistrate Judge Erica P. Grosjean has

 

NOTICE OF WlTHDRAWAL OF
DEFENDANT'S lVlOT|ON lN LllVllNE (A)

 

lN umqu (A);
ouRT

 

 

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issued the Discovery Order, attached hereto as Exhibit A, in Case No. 1:17-cv-01446~EPG

Dated: February 26, 2019

 

 

Attorney for l'-"laintif)c Ramiro Huerta
By: |Vlatthew D. Owdom

 

NOTlCE OF W|THDRAWAL OF
DEFENDANT’S N|OTEON |N LlMlNE (A)

 

 

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` 07/27/2018 36 § MINUTE ORDER: (TEXT ENTRY ONLY) On .Iuly 27, 2018, this case
came before the Court for hearing on Defendants' Motion for Protective
§ Order and for Ternporary Stay of Civil Discovery (ECF No. §_l_ ). ARer
hearing from the parties, and considering the record, the Court GRANTS
g IN PART and DEN[ES IN PART the pending motion As stated and
explained on the record, the Court grants a stay of discovery of l
§Defendants' personnel files until after the court in the criminal proceeding §
rules on Plaintiffs anticipated Pz'rchess motion or otherwise rules on the
scope of discovery of Defendants‘ personnel tiles in the criminal
proceeding Once that ruling in the criminal proceeding has been issued,
the parties are directed to meet and confer regarding disclosure of
§Defendants' personnel files in this civil case. After this meet and confer
has occurred, Plaintiff has leave to file a motion to ccmpel, if needed,
regarding the disclosure of Defendants' personnel files Without any _‘
informal conference With the Court. Det`endants' Motion for Protective
i Order and for Ternporary Stay of Civil Discovery (ECF No. ;j_ ) is
' otherwise denied. In light of this ruling, the Court's prior interim stay,
§ issued on June 14, 2018 (ECF No. 30 ), is lifted. Defendants must
therefore respond to Plaintit`f‘s Request for Production of Documents l
through 14 except to the extent that those requests seek disclosure of
Defendants' personnel tiles. 'l`he parties are directed to meet and confer
regarding any discovery that is required to be, but has not been, produced §
in response to Plaintift‘s Request for Production of Documents l through
14. The Court reiterates and extends its previous ruling that, With the
exception of Defendants' initial disclosures, Plaintiff and his counsel are
§ prohibited from using in his pending criminal case any documents or
§ other evidence produced by Defendants int 's civil proceeding unless
such documents or other evidence are independently obtained through the j
§ pending criminal case. As discussed on the record, the Court expects
§discovery_to go forward promptly and counsel shall be communicative
and efficient in scheduling depositions going forward Minute Order l
signed by Magistrate .ludge Erica P. Grosj ean on 7/27/2018. (Rooney, M)
(Entered: 07/27/2018)

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EXHIBIT 2

 

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From: Kari A Martin-Higgins <Klvlartinl@co.tulare.ca.us>
Sent: Tuesday, November 20, 2018 9:29 AlVl

To: Matt Owclorn <matt@owdomlawfirm.com>; 'kdeguzman@actslaw.com' <kdeguzman@actslaw.corn>; joe L
Alindajao <JAlindajao@co.tulare.ca,us>

Cc: Amy l |Vlyers <Aleers@co.tulare.ca.us>
Subject: People v. Ramiro Huerta TCSC Case No. PCN|358718

Good Morning Everyone,
Please see the attached Dec|aration re: Compliance with Subpoenas.

Regards,

kari Mortin-Higgins, ACP, CAS
Legal Support Services Specioli$t
Tu|are County Counsel

2900 W. Burrel Avenue

Visalia, CA 93230

Direct Line: (559} 636-4979
Facsimile: (559) 737-4319
E-mailr _::_e_l_. '“ """:_,.l:. nw

 

 

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County Counsel
Tulare County
Visalia, Calilornia

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DEANNE H.PETERSON, #147099
County Counsel for the County of Tulare
KATHLEEN A. TAYLOR, # 131100
Chief Deputy County Counsel

AMY I. MYERS, #269475

Deputy County Counsel

2900 West Burrel, County Civic Center
Visalia, California 93291

Phone: (559) 636-4950

Fax: (559) 7’37-'4319

E~mail: amyers@co.tulare.ca.us

SUPERIOR COURT OF CALIFORNIA, COUNTY OF TULARJE

PEoPLE or ran srArE or ease Number; Pci\/nssns
cALiFoiu\nA,
- . DECLARATION or KARJ
Pl ifr

am 1 ’ MARTINFHIGGINS run
VS~ CoMPLIANCE WITH
RAMIRO HUERTA, SUBPOENAS

Defendant.

 

 

I, KARl MARTlN-HIGGINS, declare:

1. l am a Legal Support Services Specialist in the office of Tulare County Counsel and have
been employed with the County of Tulare for more than five years. 1 have been a paralegal for over
twenty years. Our office represents the Defendants County of Tulare, et al in Ramiro Hueita v_
County of '1`ulare, et al, United States District Court Eastern District of California Case #1:17-cv-
01446~DAD-EPG. l am the custodian of records in the possession of Tulare County,Counsel for the
above noted federal court case-

2. 1 have personal knowledge regarding the documents in the possession of Tulare County
Counsel in the matter of Ramiro Huerta v. County of 'l`ulare et al. The matters Stat€d herein are true

and correct, l have personal knowledge thereof, and l am competent to testify thereto.

 

 

 

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Declaration of Kari l\/larl:in»Higgins

 

 

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3. On November 19, 2013, l received two subpoenas from the Tulare County District
Attorney’s Office in the matter of People v. l-Iuerta PCM358718.

4. Attached as Exhibit 1 are the subpoenas 1 received Attaclied as Exhibit 2 is a
Receipt & Acknowledgment signed by Deputy District Attorney Joe L. Alindajo on November 19,
2013 listing the documents produced in compliance with the subpoenas

1 declare under penalty of perjury under the laws of the State of California that the foregoing

facts are true and correct.

Dated: November 20, 2018

   

Kari M tin-Higgins

 

 

 

2
Declaration of Kari l\/lartin-l-liggins

 

 

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Exhibit 1

 

 

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CR-"l 251JV-525

M'¥ORNE¥ DR PART¥ WtTHOUT ATi'ORNEr’ (Namc, Sl'ala Barnurnber. andsddrr:ss): FOR cOL,-RT USE ONLV
“"“' TlM WARD
TULAR_E COU'NTY DISTRICT ATTORNEY
221 S. MOONEY BLVD RM 224
VISALIA, CA 93291

TELEF'HCNE NO.: FAX NO. lopfi'oaol].'
E-MA|L ADDHESS !DpIIonal,l:
ATTDRNEYFOR£NE""‘l-' PEOPLE OF THE STATE OF CALIFORNIA
sunshine count oi= cAt.iFonniA. counter oF TULARE
srnEEeronsss-. 300 E OLIVE AVENUE
MAluuc.\oonEss; 300 E OLIVE AVENUE
clrvANDziPcuOE: PORTERVILLE, CA 93257
eRANcHNAMi-:: PORTERVILLE DlVISION

cAse NAME:
PEOPLE VS RAMIRO HUERTA

ORDER TO ATTEND COURT OR PROVEDE DOCUMENTS:
SubpoenalSubpoena Duces Tecum PCM353718

 

 

 

 

CASE NUMBEFI:

 

 

 

 

You must attend court or provide to the court the documents listed below. Fol|ow the orders checked in item 2 below. if you do not,
the judge can fine you. send you to jail, or issue a warrant for your arrest

1- TO-‘ tnamf-’ 01r bU-SI`HES$) CUS OF REC:TULARE COUNTY COUNSEL, 2900 W BURRELL, VlSALIA, CA

2. You must follow the court order(s) checked belo\hr.
s_ lj Auend the hearing
b_ [:l Atlend the hearing and bring all items checked in c. below.

 

c. 1:1 Provide a copy of these items to the court (Do not use this form to obtain Juvenlle Court records):
m PLEASE SEE ATTACHMENT

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l:l if this box ls checked provide all items listed on the attached sheet labeled “Provide These ltems. ”

. l:l :fsomssns eiss is responsible for maintaining the items checked in c. sbsvs, that person ahs custodian sr Rssords} must
also attend the hearing

e. ,|:] lf this box is checked and you deliver all items listed above to the court within 5 days of service of this order, you do
not have to attend court if you follow the instrur;t_io_ns in item 5 _

 

 

 

Q.

 

 

3' Court Hearing Date: ` The court hearing will be at (narne and address of coun‘}:
Date; 12/04!201 8 ‘rrms; 08:30 AM TULARE COUNTY SUPERIOR COURT, 300 E OLlVE
nepi,; 019 Rm_; AVENUE, PORTERVILLE, CA 93257

 

Call the person listed in item 4 below to make sure the hearing dale has not changed lf you cannot go to court on this date, you
must get permission from the person in item 4. You maybe entitled to witness fees, mileage or both, in the discretion of the
court Ask the person in item 4 after your appearance

 

 

 

4- Th€ P€lSOn Who has required you to attend court or provide documents ls:
Narne~_ HONORABLE ANTONIO REYES phone NO_: 559»782~7'7'10
Address: 300 E OLIVE AVENUE

Number, Slreet, Apl. No.
PORTERVILLE, CA 93257
Sta‘le Zip -"'

City w
Date: 42 d 54 § Signature k z $___;%Q f l

Name“arfd'Tllfe'

 

 

 

 

 

 

 

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(Crimlnal and Jqunile) Amarrssn Lsgswoi.iss
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TIM WARD

TUL.ARE COUNTY DISTRICT ATTORNEY
221 S MOONEY BLVD., RM 224

VISALIA, CA 93291

TELEPHONE: {559) 636-5494

FAX: (559) 730-2653

AT'I`ORNEY FOR PLAINTIFF(S)

SUPER]OR COURT OF THE STA'I`E. OF CALIFORNIA
IN AND FOR THE COUNTY OF TULAR.E

THE eeoPLe or THE sure oF cAL,iFoRNiA, j
Piainrirr, )
cRT. No. ecmzssvis

AFFIDAVIT TN
SUPPORT OF
SUBPOENA DUCES
TECUM

VS.

RAMIRO HUERTO

DATE: 12!04!20 l 8
TIME:OB:SUAM
DEPT. NO.‘.Ul 9

Dei`endarit(s)

-._,l\./\_/\.J\/\./-._/`._J\../V\.._;

 

i, JOE ALINDAJAO, do hereby clcciare as follows:

l. That I am a Depury District Attomey for the County ofTuiare, and am the attorney representing the
People of the State of Calit`omia in the aforementioned matter.

2. That the Custodiari oi"R.ccords of TUI_.ARE COUNTY COUNSEL, 2900 W BURR_ELL, VlSALlA,
Califomia, has in hislher possession or under his/her control the following documents:

YOU SHALL PROV!DE. TO COURT ANY AND ALL. OF THE FOLLOWING INFORMATION lN

FEDERAL CASE l 117-CV-0i446-DAD-EPG:
A. ANY AND ALI_. FEDERAL RULINGS THAT WtOULD IMPACT CRIM]NAL CASE
PCM3SS7] 8 AND PCM351705
B. ANY AND ALL VIDEO DEPOSITIONS AND TRANSCRIPTS WITH EXHIBITS:
iNCL.UDTNG BUT NOT LlMITED TO DEPOSITIONS OF DEPUTIES DILLON,

COLDREN, AND l-IERNANDEZ.

 

 

 

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OFFICE OF THE `DISTRTCT ATTORNEY
COUNTY OF 'I`ULARP.

Tim Ward, Dislricl Attoriie)'

 

ln order the avoid personal appearance to comply with the Subpoena Duces Tecum you have received in
the above matter, Section l560 ofthe Califomia Evidcncc Codc must be strictly followcd. if this procedure is
followed properly, it will not he necessary for anyone to appear in court.

lt is imperative that the following steps be followed:

I. Malce a true and correct copy of all records described in the Subpoena Duccs Tecurn. A photocopy is
sufficient for this purpose

2. Complctc and sign thc enclosed declaration

3. Put the declaration and all copies of the records in a sealed envelope or wrapper.
4. Writc the following information on the outside of that sealed envelope or wrappcr.
a. 'i`itlc of Actiont RAMIRO HUERTA

b. Nnmber of Action: PCMBSSTIS

c. Datc of Subpoena‘. 12104)'2013

d. Name of 1Pcrson Signing Declaration:

 

5 .Enclose the sealed inner envelope or wrapper in an outer envelope or wrapper and seal the outer
container.

6. Mail or deliver the package to the following address:

Clerl< TULARE COUNTY SUPERlOR COURT
Court Division ATt"N: EXIBITS
300 E OLIVE AVENUE

PORTERviLLE, ca 93257

'l. To comply with Section l560, you must mail or deliver the above within FIVE DA`YS after you receive
the subpoena

The enclosed declaration should bc completely filled oul, with a check mark for either 3a or Bb. Sig,n and
date the declaration and enclose it with the sealed rccords.

Additionally, it would bc helpful to enclose a short explanation ofthe records

 

22§ 5 MOONEY BLV'D, RM 224, ViS.-‘\Lir‘\., Cl\ 93291-4593 ' MAEN OFFiCE (559) 636~5494, FAX ($59) 230-2658 ~ WWW.DA-WLAREC0.0RG

 

 

 

 

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DECLARATION
Title of Action: R_AMIRO HUERTA

Number of Action: PCM3587 l 8
Date of Subpoena: 12!04/2018
Narne of party receiving subpoena: CUSTODIAN OF RECORD

blame of Business: TULARE COUNTY COUNSEL

, the undersigned, say:

 

I. l am the duly authorized custodian of the records of the above-named business.

2. I have authority to certify copies of those reeords.

1

3. Clieck either a. or b. below:

( ) a. The copies transmitted herewith are true and correct copies ofall
the original records described in the above-named subpoena,
insofar as the above-named business has such records;

() b. No copies are transmitted herewith, because the above-named
business has none of` the records described in the above named
subpoena

4. The records were prepared by the personnel ot` the above-named business,
in the ordinary course of business at or near the time of the act, condition,
or event.

5. The records transmitted herewith are identified as:

 

 

6. The records were prepared in the following manner:

 

 

Executed on , , at , Califomia.

l declare under penalty of perjury that the above is true and correet_

 

Declarant

 

 

 

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CR~125!JV-525
Arronner on sanrvwirliour ArronuEY ruome. sole aar noonan one addressi: FQR COURT U$E amy
‘_ TIM WARD
TULAR_E COUN'I`Y DISTRICT ATTORNEY
221 S. MOONEY BLVD R_M 224
vtsALIn, on 93291

TELEPHDNE NO.Z l'-'AX ND. (Opll`unal,l_‘ v
E-MAlL ADDRESS fOpEonai}£
A"ORNEYFOR l"rmEl-' PEOPLE OF THE STATE OF CALIFORNIA
suPenlon eoun'r oF anu=oRNiA, couurv oF 'I`ULARE
storer nooREsS: 300 E OLIVE AVENUE
unions riooness: 300 E OLIVE AVENUE

clrvnuozincooE-. PORTERVILLE, CA 93257
BRANCHNAME; PORTERVILLE DlVISlON

case NAME:
PEOPL,E VS RAMIRO HUERTA

ORDER TO ATTEND COURT OR PROV[DE DOCUMENTS:
SubpoenalSubpoena Duces Tecum PCM358713

 

 

 

 

CF\SE NUMBER:

 

 

 

 

You must attend court or provide to the court the documents listed below. Foilow the orders checked in item 2 below. li you do noll
the judge can line you, send you to jail, or issue a warrant for your arrestl

1. TO! lowe OrbUSFHGSS) CUS OF REC:TULARE COUNTY COUNSEL, 2900 W BURRELL, VISALIA, CA
2. You must follow the court order(s] checked below:

a. l::l Atlencl the hearing.
b_ I:] Attend the hearing and bring all items checked in c. beiow_

o. i:l Provicle a copy of these items to the court (Do not use this form to obtain Juvenile Court records):

(1) PLEASE SEE ATTACHMENT

(2)
(3)
l::| lf this box is checked, provide all ilems listed on the attached sheet labeled “Provlo’e These ltems."

d. l:j lt someone elects responsible for maintaining the items checked in c_ above, that person (the Custodian of Records) must
also attend the hearing '

e. :l lf this box is checked and you deliver all items listed above to the court within 5 days of service of this ordor, you do
not have to attend court if you follow the instructions in item 5.

 

 

 

 

 

 

 

 

 

 

 

  

 

 

 

 

 

3~ Court l-iearing Date: The court hearing will bo at ['name and address ofcouri).'
Daie; 12/04/2018 Time;08:30 AM TULARE COUNTY SUPERIOR COURT, 300 E OLIVE
gepi,; 019 ama avenue PoR'rEnvILLE, on 93257
Call the person listed in item 4 below to make sure the hearing date has not changed |f you cannot go lo court on this dale_ you
must get pennlseion from the person in item 4. You may be entitled to witness lees. mileage or both. in the discretion of the
court Asl< the person in item 4 alter your appearance /®§_
//\)r<l “ - s- \ "
4. The person who has required you to attend court or provide documents is: / _ l _
Name; HoNoRAeLE ANToNro nieves owns na_.- _H559-732-7770 f '*‘“-
Address: 300 n otiva revenue 2
Nurnber. Street, Apt. No.
PORTERVILLE, CA 93257
City Slate Zip
.‘
Date.' / / Signature b j
Name eM
F°§;‘d?j§,%‘;i';;§,“§§’g‘§,?i§'i,l;” onnen To ATrENn counr on PRovloE ooculvieurs: raw '=fz
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TIM WARD

TULARE COUNTY DISTRICT AT'I`ORNEY
221 S MOONEY BLVD., RM 224

VISALIA, CA 9329l

TELEPl-IONE: (559) 636-5494

FAXZ (559) 73 0-2653

ATTORNEY FOR PLATNTIFF(S)

SUPERIOR COURT OF THE STA'I`E OF CALlFORNIA
H\I AND FOR THE COU'NTY OF TULARE

THE PEOPLE OF THE STATE OF CALIFORNIA, )
Plaintiff, )
CRT. NO. PCM35871 8

AFFIDAVIT lN
SUPPORT OF
SUBPOENA DUCES
TECUM

VS.

RAMIRO HUERTO

DATE: 12/04)'20] 8
TTME:OB:SGAM
DEPT. NO.:O i 9

D€ f`ondant($]

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I, JOE ALINDAJAO, do hereby declare as follows:

l. That l am a Deputy District Artomsy for thc County of Tularc, and arn the attorney representing the
People ol" the Statc of Califomia in the aforementioned mattcr. 7

2. That the Custodiart of Records of TULARE. COUNTY COUNSEL, 2900 W BURRELL, VISALIA,
Ca]ifornia, has in hisfher possession or under his/her control the l"oliowing documents:

YOU SHALL PROVIDE TO COURT ANY AND ALL OF THE FOLI_.OW]NG TNFORMATION IN
FEDERAL cASe 1 :17-Cv_01446-vo-epo§

PbEASE PROVlDE ANY AND ALb AUD[O TRANSCR!PTS FROM PORTERVILLE POLlCE
DE]’ARTMENT (INCIDENT # 71’V0021310) AND TULARE COUNTY SHERIFF'S OFF'ICE (TCS() RPT#

17-04931) RELATING TO I"EDERAL CASE # I: lT-CV-O_i¢$%-DAD»EPG.

 

 

 

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Case 1:17-cV-Ol446-EPG Document 66 Filed 02/26/19 Page 19 of 28

 

OFPICE OF THE DISTRiCT ATTORNEY
COUNTY OF TULARE

Tim Wurd. Distri:t Atrorney

 

lo order the avoid personal appearance to comply with the Snbpoena Duccs chum you have received in

the above marter, Scclion 1560 of the Calii`ornia Evidence Codc must be strictly followed. lf this procedure is

followed properly, it will not bc necessary i`or anyone to appear in court.

it is imperative that the following stops be followed:

1. Mal<c a true and correct copy of all records described in the Subpoena Duces Tecnm. A photocopy is
sufficient for this purpose

l»..)

. Complcte and sign thc enclosed declaration

3. Put the declaration and all copies of the records in a sealed envelope or wrappcr.
4. Writc the following information on the outside of that sealed envelope or wrappcr.
a. Titlc ofAction: RAMIRO l-IUERTA

b. Number oi`Action: PCMS$B?lB

c. Date ofSubpoena: 12/04/2018

cl. Namc ochrson Signing Deciaration:

5 .Enclose the sealed inner envelope or wrapper in an outer envelope or wrapper and seal thc outer
container.

6. Maii or deliver the package to the following address:

Clcrl< TULARE COUNTY SUPE`.RIOR COURT
Court Division A‘l l N: E.XIBITS
300 E OLIVE`, AVE`,NUE

PORTERVILLE, CA 93 25 7

7_ To comply with Section 1560, you must mail or deliver the above within FIVE DAYS alter you receive
the subpoena

Thc enclosed declaration should bc complctcly filled out, with a check mark for either 3a or 3b. Sign and
date the declaration and enclose it with the sealed rccords.

Additionally, it would bc helpful to enclose a short explanation ofthe rccords.

 

 

 

22| 5 MOONEY BL.V`D, RM 224, VlSALlA. CA 9329l-4593 ‘ MATN Ol"FlC.E (559] 636-5494, FAX (559) 730-2658 * WWW.DA~TULAREC0.0RG

 

 

 

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DECLAR.ATION
Titlc ofAction: RAMIRO HUERTA

Number ofAction: PCM3587 l 8
Date of Subpoena; 12/04!2018
Narnc of party receiving subpoena: CUSTODIA`N OF RECORD

Name of Business: TULARE COUNTY COUNSEL

l, , the undersigned say:

 

l. l am the duly authorized custodian of the records of the above-named business
2. l have authority to certify copies of those records.

3. Checl< either a. or b. below:

() a. The copies transmitted herewith are true and correct copies of all

the original records described in the above-named subpoena,

insofar as the above~named business has such records;

() b. No copies are transmitted herewith, because the above-named

business has none of the records described in the above named

subpoena

4. ’f`he records were prepared byrne personnel of the above-named business,

in the ordinary course ot` business at or near the time of the act, condition,
or event.

5. - " `FThe records transmitted herewith are identified as:

 

 

6_ The records were prepared in the following manner:

 

 

Executed on , , at , California_

l declare under penalty of perjury that the above is true and correct

 

Declarant

 

 

 

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CR-‘l 25lJV-525

ATTURNEY Ol'l PAR'[Y wlTl-IUU'!' ATTQRNEY ¢'Nsri'lo. Stal'e Barnumber, and addressj: Fg,q gou,qr 355 QNLY

_` TlM WARD
TULARE COUNTY DIS TRICT ATTORNEY
221 S. MOONEY BLVD RM 224
VISALIA, CA 93291

TELEFHGNE ND.: FAX NO. fO,'.'|i'¢'l\'JHBU.' ‘
i_=.ii,mii_ aooness rossman

nrroaner ron monies PEOPLE OF THE STATE OF CALIFORN_IA
suPEnion counr oi= cALii=oiaNia, couuTY or TULAR_E

srnsar nooness: 300 E OLIVE AVENUE

Maiiiucaooness: 300 E OLIVE AVENUE

cirYAiloziPcooE: PORTERVILLE, CA 93257

cannctiii»w.e: PORTERVILLE DIV]SION

case NAME:
PEOPLE VS RAMIRO l~lUERTA

ORDER TO ATTEND COURT OR F'ROV¢DE DOCUMENTS:
Subpoena!Subpoena Duces Tecum

 

 

 

 

CAS'E NUMEiER:

PCM3 53713

 

 

 

 

You must attend court or provide to the court the documents listed be[ovv. Folloi.v the orders checked in item 2 beloiv. if you do not.
the judge can urie you. send you to jail or issue a warrant for your arrest

1. TO? (flam€ OFbUSl`HESS) CUS OF REC:TULARE COU`NTY COUNS`E,L, 2900 W BURRELLLVISALIA, CA

2. You must follow the court ordor(s} checked below:
a. l:_:l Aiterid the hearing.
a ft strand inc hearing and onog'aii items checked in c oeiow.
c_ l:::l Provioc o copy or these items io inc court (oo ooi usc this form to obtain Jovoniio coon recorder

(1) PLEASE SEE ATTACHMENT
t?-l
(3l
l::l if this box is checked provide all items listed on the attached sheet labeled ”Provfde These items "

d. l::l lt someone else is responsible for maintaining the items checked iri c. above, that person (the Custodian of Records) must
also attend the hearing

e_ f:[ li this box is checked and you deliver all items listed above to the court within 5 days of service of this orderl you do
not have to attend court if you followthe instructions iri item 5.

 

 

 

 

3' Court Hearlrig Date: The court hearing will be at (name and address di court).'
gaie; 12/04/2018 Timo;OB:E() AM TULARE COUNTY SUPERIOR COURT, 300 E OLIVE
nepi`; 019 an.: AVENUE, PORTERVILLE, CA 93257

 

Ca|| the person listed in item 4 below to make sure the hearing date has not changed if you cannot go to court on this date, you
must get permission from the person in item 4. You may be entitled to witness fees. mileage, or both. in the discretion ot the
court Ask the person ln item 4 after your appearance

    

 

 

 

 

4. The person who has required you to attend court or provide documents lsi /
same HoNoRABLE antonio eaves phone No_._ M / §
Address: 300 a otive AVENUE - §

Nurnber. Street, Apt. No_ 'd
PORTERVILLE, CA 93257 1

 

 

City . State Zip
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Case 1:17-cV-Ol446-EPG Document 66 Filed 02/26/19 Page 22 of 28

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221 s MooNeY BLVD., RM 224

vrsALiA, cA 93291

TELEPHONE: (559) 636_5494

rsz (559) 730~2653

Ar"roio~ls<r ron PLArNrrrF(s)

SUPER[OR COURT OF THE STATE OF CA LIFORNIA
IN AND FOR THE COUNTY OF TULARE

THE PEOPLE OF THE STATE OF CALIFORNlA, )
Plaintiff, )
CRT. NO. PCMJ§B’]]B

AFFIDA VIT IN
SUPPOR'[` OF
SUBPOENA DUCES
TECUM

VS.

RA`M]RO HUERTO

DATE,: 1204/2018
TIME:OS:B OAM
DEPT. NO.:019

Dcfendant(s)

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I, JOE ALINDAJAO, do hereby declare as follows:

l. That l rim a Dcputy Disrricr Artomcy for the County of Tulare, and am the attorney representing the
Psople of the State of California in the aforementioned matter_

2. That the Custodian of Records of TULARE COUNT'Y COUNSEL, 2900 W BURRELL, VISALIA,
Califomia, has in his/her possession or under his/her control the following documents:

YGU SHALL PROV[DE TG COURT A`NY AND ALL OF THE FOLLOWING YNFORMATION lN
FEDERAL CASE l:l'/-CV~O l446-DAD-EPG:

PLEASE PRO VIDE ANY AND ALL AU DIO TRANSCRIPTS FROM PO'R'I`ERVILLE POLICE
DE'PARTM ENT (INCID ENT ii 7PV002131 0) AND TU LARE COU NTY SHER[FF'S OFFLCE (TCSO RPT#

17-04931) RELATING TO FEDERAL CASE il 1 :]7»CV-Gl446-D AD-EPG.

 

 

 

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Case 1:17-cV-Ol446-EPG Document 66 Filed 02/26/19 Page 23 of 28

 

OFFICE OF THE DiSTRICT ATTORNEY
coon'rr or TULARE

Tirn Wnrd, Districi Atlorncy

 

ln order the avoid personal appearance to comply with the Subpoenn Dnces chum you have received in
the above marion Scction 1560 of` the California Evidcncc Code must be strictly followed if this procedure is
followed properly, it will not be necessary for anyone to appear in court.

it is imperative that the following steps bc followcd:

l. Mal<c a true and correct copy of atl records described in thc Subpoena Duccs Tecum. A photocopy is
sufficient for this purpose.

2. Complctc and sign the enclosed declaration

3. Put the declaration and all copies of the records in a seated envelope or wrappcr.
4. Writc the following information on the outside of that sealed envelope or wrappcr.
a. Title ofAction: RAMIRO l-IUERTA

b. Nurnbcr of Action: PCM3587IB

c. Date ofSubpocna: lZ/O¢l/Zt]l$

d. Namo of Pcrson Signing Dcclaration:

 

S.Enclose the sealed inner envelope or wrapper in an outer envelope or wrapper and seal the outer
containcr.

6. Mail or deliver the packagc._to the following address
Clcrl< TULARE COUNTY SUPER_IOR COURT
Court Division AT'I`N: EXIEITS

300 E OLIVE AVENUE

PORTERVILI_.E, CA 93?.57

7. To comply with Scction l560, you must mail or deliver the above within FIVE DAYS after you receive
the subpoena

The enclosed dcciaration should be completely titled out, with a check mark for either 3a or 3b. Sign and
date the declaration and enclose il with the sealed recordsll

Additionaily, it would bc helpful to enclose a short explanation of the records

 

22! S MOONE.Y B]_.VD, RM 224, VIS!‘\LLA, CA 9329] -4593 - MATN OFFlCE. (559) 636-5494, FJ'\X (559) 730-2653 - WWW.DA-TULAREC0.0RG

 

 

 

 

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DECLARATION
Title of Action: RAMIRO HUERTA

Nurnber ofAction: PCMS$S?!B
Date ofSubpoena: 12/04/2018
Name oi` party receiving subpoena: CUSTODIAN OF RECORD

Name oFBusiness: TULARE COU'NTY COUNSEL

l, , the undersigned say:

 

1. l am the duly authorized custodian of the records ot`the above-named business
2. l have authority to certify copies of those records

3_ Clieck either a. or b. below:

() a. The copies transmitted herewith are true and correct copies of all

the original records described in the above-named subpoena,

insofar as the above-named business has such records;

()b. No copies are transmitted herewith, because the above-named
business has none ot` the records described in the above named
subpoena

4. The records were prepared by the personnel of the above-named business,

in the ordinary course of business at or near the time of the act, condition,
or e\'ent_

5. The records transmitted herewith are identified as:

 

 

6. The records were prepared in the following manner:

 

 

 

Executed on , , at , California.

I declare under penalty of perjury that the above is true and correct.

 

Declarant

 

 

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Exhibit 2

 

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County Counse|
Tulare County
litisa|ial Ca|ilomia

Case 1:17-cV-Ol446-EPG Document 66

DEANNE H. PETERSON, SBN 147099
County Counsel for County of Tulare
KATHLEEN A. TAYLOR, SBN 131100
Chief Deputy County Counsel

AMY I. MYERS, SBN 269475

Dcputy County Counsel

2900 W. Burrei Ave.

Visalia, CA 93291

Telephone: (559) 636-4950

Facsirnile: (559) 737-4319

E-i\/lail: amvcrs@.co.tulare.ca.us

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF CALIFORNIA-FR_ESNO

RAMIRO HUERTA
Plaintiff,

V.

COUNTY OF TULARE ET Ai_,
Defendant.

Case Nuniber: 1:17-CV-01446-DAD-
EPG

Receipt & Acknowledgenient

 

 

1, rios L. ill /"`//a/z‘éeir/;c
(Printcd Name)

acknowledge receipt of the following

11 Video deposition of Raniiro Huerta with transcript and exiiibits;

2. Video Deposition of Josei'ina Huerta with transcript and exliibits;

3. Video Deposition of Pascual Hnerta with transcript;

4. Deposition transcripts of Tulare County PMKS With exhibits;

5. Deposition transcript of Michael Coldren with exhibits;

6. Deposition transcript of Lanra Torres-Salcido with exhibits;
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. Deposition transcript of l-iector Hernandez with exhibits;

3. Deposition transcript of Salvador Ceja with exhibits;

9. Deposition transcript of J ames Dillon with exliibits;

10. Fl`rariscripts of body cain videos;

 

 

 

 

 

Case 1:17-cV-Ol446-EPG Document 66 Filed 02/26/19 Page 27 of 28

1 1 1. 'l`ranscripts of PPD calls;
2 12. Transcript of radio transinissions;

3 - 13. Transcripts of TCSO calls.

  
  

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: Dated: / //(r
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County Counsel
Tulare County

 

‘Jisalia, Caliiornia

 

 

 

 

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CDU||TY CDU|iSEL
TULARE COL|lll‘{
ViSALlA. CALIFUR|HA

Case 1:17-cV-Ol446-EPG Document 66 Filed 02/26/19 Page 28 of 28

PROOF OF SERVICE

1, the undersigned, declare under penalty of perj ury that l am employed in the County of
Tulare, State of California_ 1 am over the age of eighteen (18) years and not a party to this
case. l\/ly business address is 2900 West Burrel Avenue, Visalia, CA 93291.

On this date, 1 served the following document(s): DECLARATION OF KARI MARTlN-
HIGGINS RE: COMPLIANCE WITH SUBPOENAS

 

 

Matthew D. Owdom Boris `l`reyzon, Esq.

Owdom Law Firm Douglas A. Rochen, Esq.

632 W. Oal< Avenue Katic deGuzrnan, Esq.

Visalia, CA 93291 ABIR COHEN TREYZON SALO LLP
matt@owdomla\-vtirin.com 1901 Avenue ofthe Stars, Suitc 935
Aliorneyfor Ploin!iij Los Angeles, CA 90067

btrevzon@actslaw.com
droclien@actslaw.coni
lcdcauzman@actslaw.com
Airorneysfor Plnintiff

 

Tularc County District Attorney Ofl‘icc
300 East Olive,
Porterville, CA 93257'

 

 

 

 

ln the following manner:

}Il (BY MAIL) l am “readily familiar” with The County ot"l`ulare’s practice ot`collection
and processing correspondence by mailing Under that practice, mail is deposited with the
U.S. Postal Servicc on the same day with postage fully prepaid at Visalia, Calii"ornia, in
the ordinary course oi`busincss. 1 am aware that on motion of the party servcd, service is
presumed invalid if postal cancellation date or postage meter date is more than coe day
after date of deposit for mailing in afiidavit.

}I| (BY ELECTRONIC MAIL) With the addressee(s)’ consent and agreement, l caused
such document to be delivered by electronic transmission to the addressee(s).

Executed on Novembcr20, 20187 at Visalia, CA. , _, '__1. _;, 5 '_J _\`
, »,~~ /15 ?,_¢" rev - ,-; ` 2 _ 21 _

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Pcople 01` the State ot`California v. Ramiro l-luerta
Tularc County Supcrior Court Case No. PCl\/l358718

 

 

 

